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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                                  Eastern Division

UL LLC
                              Plaintiff,
v.                                                  Case No.: 1:24−cv−05631
                                                    Honorable Andrea R. Wood
Joshua Callington
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, November 27, 2024:


        MINUTE entry before the Honorable Andrea R. Wood: Telephonic motion
hearing held on 11/27/2024. The Court heard oral argument on Plaintiff's motion for entry
of a confidentiality order [22] and Defendant's motion to dissolve interim protective order
[23]. The motions are taken under advisement for written ruling. Telephonic status
hearing set for 1/9/2025 [21] remains firm. Mailed notice (lma, )




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